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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND

IN RE: Naima Nur Hashim-White *
=»= Case NO_ 18-17247

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Debtor(s) *

sTATEMENT UNDER PENALTY or makva CoNCERNING
PAYMI~:NT ADVICES I)UE PURSUANT 'ro 11 U.S.C. § sz'r(a)(i)(n)(iv)

 

]_, Naima NUFHHShim-White (Debtor’s namez), state that l did not_provide copies
of all payment advices or other evidence of payment received within 60 days before the date of`
the filing of the petition, by me from any employer because:

 

V (l) I was not employed during the period immediately preceding the filing of the
above-referenced case Match 201B-Current (state the dates that you were not employed);

(2) l was employed during the period immediately preceding the filing of the
above-referenced case but did not receive any payment advices or other evidence of payment
from my employer within 60 days before the filing of the petition;

 

(3) l am self employed and do not receive any evidence of payment;

 

\/ (_4) Othcr (please explain) Bankruptcy was caused by loss of job

l declare under penalty of perjury that I have read the foregoing statements and that they
are true and accurate to the best of my knowledge, information and belief.

Dated this 18Th day of JLI"€ ,2018 . _
/ \-/ M~/\`_/ w f Me.
Debtor

 

Local Bankruptcy Forrn Q

 

2 A separate form must be filed for each chtor

